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904. 888. 6454

IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

David Hegland
Dawn Hegland Case No. CV-19-7171 PA

Merlyn Hegiand
Nathan Hill NOTICE OF APPEAL
Kyle A. Janes
Scott Meide
Plaintiffs,

V.
Noah Centineo et al.,

Defendants.

 

Come the Plaintiffs in the above-captioned matter, David Hegland, Dawn
Hegland, Merlyn Hegland, Nathan Hill, and Kyle A. Janes and hereby appeal

to the Ninth Circuit Court of Appeals from the judgement entered in
this action on October 31, 2019.

Respectfully submitted,

Rel | hip L

David Heglahd

November al 2019

    

Dawn Hegland /,

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Merlyn Heglahd

Nathan Hill

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Kyle A. Janes

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Scott Meide

 

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IN THE UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

David Hegland
Dawn Hegland Case No. CV-19-7171 PA

Merlyn Hegland
Nathan Hill NOTICE OF APPEAL

Kyle A. Janes
Scott Meide
Plaintiffs,

V.

Noah Centineo et al.,

Defendants.

 

I, the undersigned, declare that:

I am over the age of 18 years and not a party to this case. My business
address is: 2147 Saul Drive, Jacksonville, Florida, 32216.

On November 27, 2019 I served the following document:

PLAINTIFFS’ NOTICE OF APPEAL

on all interested parties in this action by transmitting a true copy thereof by electronic
equipment transmission as follows and /or by placing a copy thereof enclosed in sealed

envelopes addressed as follows:

PLEADING TITLE - 3

 
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PLEASE SEE ATTACHED SERVICE LIST

[X] (U.S. MAIL) I enclosed said documents(s) in a sealed envelope of package to each
addressee as identified on the Service list below. I placed the envelope for collection and
mail with the US Postal Service, with postage fully prepaid.

[ ] (ELECTRONIC MAIL) I served by email said documents(s) to the following persons
and/or entities at the last known email address as identified on the Service List below.

[X ] (CM/ECF electronic notification) I am readily familiar with the ECF filing system
and caused a true and correct copy thereof to be served electronically via CM/ECF
electronic notification the following persons and/or entities as identified on the Service
List below.

I declare under penalty of perjury under the laws of the State of Florida that the
above is true and correct. Executed on November 27, 2019, at Jacksonville, Florida.

/s/ Charlie Saman
Charlie Saman

PLEADING TITLE - 4

 
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